      Case 2:17-bk-13503-SK             Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04                          Desc
                                         Main Document    Page 1 of 14




                                        UNITED STATES BANKRUPTCY COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                              LOS ANGELES DIVISION


    In re: TUNCANG GROUP INC.                                  §    Case No. 2:17-bk-13503 SK
                                                               §
                                                               §
                                                               §
                                Debtor(s)


                                     AMENDED TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 03/22/2017. The
    undersigned trustee was appointed on 03/22/2017.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $         291,690.34
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                       0.00
                            Administrative expenses                                   243.33
                            Bank service fees                                       3,011.24
                            Other payments to creditors                             9,510.00
                            Non-estate funds paid to 3rd Parties                        0.00
                            Exemptions paid to the debtor                               0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $          278,925.77
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




UST Form 101-7-TFR (5/1/2011)
      Case 2:17-bk-13503-SK               Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04                              Desc
                                           Main Document    Page 2 of 14



           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 07/10/2017 and the deadline for filing
    governmental claims was 09/18/2017. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $17,834.52. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $17,834.52, for a
    total compensation of $17,834.522. In addition, the trustee received reimbursement for reasonable and
    necessary expenses in the amount of $0.00 and now requests reimbursement for expenses of $186.26 for total
    expenses of $186.262.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 04/16/2019                                     By: /s/ Howard M. Ehrenberg
                                                                        Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



UST Form 101-7-TFR (5/1/2011)
               Case 2:17-bk-13503-SK                                   Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04                                       Desc
                                                                        Main Document    Page 3 of 14
                                                                Form 1
                                                                                                                                                               Exhibit A
                                            Individual Estate Property Record and Report                                                                       Page: 1

                                                             Asset Cases
Case No.:    2:17-bk-13503 SK                                                                         Trustee Name:      (001420) Howard M. Ehrenberg
Case Name:         TUNCANG GROUP INC.                                                                 Date Filed (f) or Converted (c): 03/22/2017 (f)
                                                                                                      § 341(a) Meeting Date:       05/02/2017
For Period Ending:         04/16/2019                                                                 Claims Bar Date:      07/10/2017

                                       1                                      2                      3                      4                    5                  6

                           Asset Description                               Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                            Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                           Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                      and Other Costs)

    1       Checking account                                                  5,850.04                   5,850.04                               14,155.34                        FA
            bank account balance

    2       Accounts receivable                                            132,880.40                         0.00                                   0.00                        FA
            no value to the estate

    3       Accounts receivable                                            368,731.53                         0.00                                   0.00                        FA
            over 90 days

    4       Accounts receivable                                                   200.00                      0.00                                   0.00                        FA
            over 90 days

    5       Ground support equipment                                        55,431.00                         0.00                                   0.00                        FA
            sold
            see asset #9

    6       Office furniture and equipment                                  27,488.00                         0.00                                   0.00                        FA
            sold
            see asset #9

    7       2015 Cadillac Escalade                                          48,000.00                         0.00                                   0.00                        FA
            sold
            see asset #9

    8       2014 Jeep Wrangler                                              23,000.00                         0.00                                   0.00                        FA
            sold
            see asset #9

    9       Aircraft M-9-235                                               249,662.40                 249,662.40                             125,000.00                          FA
            EOD 9/11/17 [Doc 71]
            sale of automobiles, airplane, and the debtor's personal
            property located in California including a/r totaling
            $29,405.

   10       Leasehold improvement                                             5,900.00                        0.00                                   0.00                        FA
            EOD 9/11/17 order approving stipulation
            lease was assumed and assigned to purchaser of
            assets

   11       Covenant not to compete                                          Unknown                          0.00                                   0.00                        FA
            no value to the estate

   12       Lease rights                                                     Unknown                          0.00                                   0.00                        FA
            no value to the estate

   13       Organizational costs                                             Unknown                          0.00                                   0.00                        FA
            no value to the estate

   14       Start up costs                                                   Unknown                          0.00                                   0.00                        FA
            no value to the estate

   15       Goodwill                                                         Unknown                          0.00                                   0.00                        FA
            no value to the estate

   16       Federal NOL                                                    254,469.00                         0.00                                   0.00                        FA
            no value to the estate

   17       State NOL                                                      237,754.00                         0.00                                   0.00                        FA
            no value to the estate

UST Form 101-7-TFR (5/1/2011)
               Case 2:17-bk-13503-SK                                  Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04                                       Desc
                                                                       Main Document    Page 4 of 14
                                                               Form 1
                                                                                                                                                              Exhibit A
                                           Individual Estate Property Record and Report                                                                       Page: 2

                                                            Asset Cases
Case No.:    2:17-bk-13503 SK                                                                      Trustee Name:      (001420) Howard M. Ehrenberg
Case Name:         TUNCANG GROUP INC.                                                              Date Filed (f) or Converted (c): 03/22/2017 (f)
                                                                                                   § 341(a) Meeting Date:       05/02/2017
For Period Ending:         04/16/2019                                                              Claims Bar Date:      07/10/2017

                                      1                                      2                    3                      4                   5                     6

                           Asset Description                              Petition/       Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)                Unscheduled      (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                           Values               Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                        Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                   and Other Costs)

   18       Tie down rent (u)                                                    0.00                      0.00                              2,535.00                           FA
            collected

   19       Two airplanes MXT-7-180 and                                          0.00                      0.00                           150,000.00                            FA
            Accelerated Account (u)
            EOD 12/19/17 [Doc 86]
            Motion to Sell Property of the Estate Free and Clear of
            Liens under Section 363
            Georgia Airplanes and the purported receivable due the
            Debtor from Accelerated Flight Training Center
            Adversary complaint for turnover filed 4/12/18 case no.
            2:18-ap-01098


   19       Assets Totals (Excluding unknown values)                   $1,409,366.37              $255,512.44                           $291,690.34                       $0.00



 Major Activities Affecting Case Closing:



                                  Tax returns filed with the taxing agencies. Applications for fees filed with the court. Court costs received. No
                                  objection to claims needed. (2/1/19)

                                  The sale of the California assets was consummated. The Georgia airplanes and the purported receivable
                                  due the Debtor from Accelerated Flight Training Center was sold for $150,000.00. A complaint for turnover
                                  was filed. That sale has also been consummated. The trustee reviewed the records for any potential
                                  fraudulent or preferential transfer but none were found. There maybe a residual value in the remaining
                                  accounts receivable and if an offer is received, a motion to sell will be filed. Otherwise, this case is ready for
                                  closing. Trustee will employ accountants and file the necessary estate tax returns. (6/30/18)

                                  This debtor operated a business which offered general aviation terminal services and aircraft storage out of a
                                  located in Long Beach. Counsel was employed to assist the trustee in reviewing the financial affairs and the
                                  contracts and leases related to the business. After further investigation, the assets of the debtor were
                                  determined to be automobiles, airplanes, accounts receivable and the lease with The City of Long Beach.
                                  Ultimately, with the cooperation of the City of Long Beach and the secured creditors, a motion for sale of
                                  certain of the estate's assets was filed with the Court on June 2, 2017. The proposed price is $125,000 with
                                  a sale date of August 2, 2017. Claims bar date has been set. No accountant is needed at this time. The
                                  ETFR date is December 31, 2018. (6/30/17)

                                  EOD 5/3/17 approving employment of SulmeyerKupetz
                                  EOD 9/4/18 approving employment of Menchaca & Company LLP
 Initial Projected Date Of Final Report (TFR): 12/31/2018                               Current Projected Date Of Final Report (TFR):            02/01/2019 (Actual)




UST Form 101-7-TFR (5/1/2011)
              Case 2:17-bk-13503-SK                           Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04                                         Desc
                                                               Main Document    Page 5 of 14
                                                              Form 2                                                                                Exhibit B
                                                                                                                                                    Page: 1
                                              Cash Receipts And Disbursements Record
Case No.:              2:17-bk-13503 SK                                       Trustee Name:                     Howard M. Ehrenberg (001420)
Case Name:             TUNCANG GROUP INC.                                     Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***3727                                             Account #:                        ******9966 Checking Account
For Period Ending: 04/16/2019                                                 Blanket Bond (per case limit): $5,000,000.00
                                                                              Separate Bond (if applicable): N/A
    1          2                          3                                          4                               5                 6                     7

  Trans.    Check or         Paid To / Received From             Description of Transaction         Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                                Tran. Code       $                   $

 05/05/17     {18}       Arnold D. Cicerone & Associates,     tie down rent                        1222-000              100.00                                    100.00
                         Inc.

 05/05/17     {18}       Khavarian Enterprises, Inc.          tie down rent                        1222-000              135.00                                    235.00

 05/10/17     {18}       Sky Creation, Inc.                   tie down rent                        1222-000           1,100.00                                    1,335.00

 05/16/17     {18}       The Pilot Shop                       tie down rent                        1222-000           1,200.00                                    2,535.00

 05/26/17     {1}        Tuncang Group                        turnover of funds-chase bank         1129-000          14,155.34                                   16,690.34

 05/31/17                Rabobank, N.A.                       Bank and Technology Services         2600-000                                 10.00                16,680.34
                                                              Fee

 06/30/17                Rabobank, N.A.                       Bank and Technology Services         2600-000                                 23.99                16,656.35
                                                              Fee

 07/31/17                Rabobank, N.A.                       Bank and Technology Services         2600-000                                 23.15                16,633.20
                                                              Fee

 08/08/17     {18}       Candace A Larned Enterprises         tie down rent                        1222-000           3,150.00                                   19,783.20
                         Inc.

 08/10/17   101 {18}     Pacific Jet Center, LLC              funds deposited in error             1222-000          -3,150.00                                   16,633.20

 08/31/17                Rabobank, N.A.                       Bank and Technology Services         2600-000                                 27.07                16,606.13
                                                              Fee

 09/26/17                Elite Aircraft Title & Escrow, LLC   EOD 9/11/17 order approving sale                      115,490.00                                  132,096.13

              {9}                                             sale of aircraft and other assets    1129-000                                                     132,096.13

                                                                                    $125,000.00

                         Chino Aviation                       Lien                                 4220-000                                                     132,096.13

                                                                                      -$9,510.00

 09/29/17                Rabobank, N.A.                       Bank and Technology Services         2600-000                                 39.69               132,056.44
                                                              Fee

 10/31/17                Rabobank, N.A.                       Bank and Technology Services         2600-000                                202.60               131,853.84
                                                              Fee

 11/30/17                Rabobank, N.A.                       Bank and Technology Services         2600-000                                189.65               131,664.19
                                                              Fee

 12/29/17                Rabobank, N.A.                       Bank and Technology Services         2600-000                                183.06               131,481.13
                                                              Fee

 01/31/18                Rabobank, N.A.                       Bank and Technology Services         2600-000                                208.02               131,273.11
                                                              Fee

 02/01/18     102        International Sureties, LTD.         bond premium                         2300-000                                 58.79               131,214.32

 02/28/18                Rabobank, N.A.                       Bank and Technology Services         2600-000                                176.16               131,038.16
                                                              Fee

 03/30/18                Rabobank, N.A.                       Bank and Technology Services         2600-000                                188.47               130,849.69
                                                              Fee

 04/30/18                Rabobank, N.A.                       Bank and Technology Services         2600-000                                181.93               130,667.76
                                                              Fee

 05/31/18                Rabobank, N.A.                       Bank and Technology Services         2600-000                                206.75               130,461.01
                                                              Fee

                                                                                             Page Subtotals:      $132,180.34         $1,719.33       true


{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                                    ! - transaction has not been cleared
                 Case 2:17-bk-13503-SK                         Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04                                            Desc
                                                                Main Document    Page 6 of 14
                                                               Form 2                                                                                   Exhibit B
                                                                                                                                                        Page: 2
                                               Cash Receipts And Disbursements Record
Case No.:                 2:17-bk-13503 SK                                    Trustee Name:                 Howard M. Ehrenberg (001420)
Case Name:                TUNCANG GROUP INC.                                  Bank Name:                    Rabobank, N.A.
Taxpayer ID #:            **-***3727                                          Account #:                    ******9966 Checking Account
For Period Ending: 04/16/2019                                                 Blanket Bond (per case limit): $5,000,000.00
                                                                              Separate Bond (if applicable): N/A
    1             2                        3                                        4                               5                    6                        7

  Trans.       Check or       Paid To / Received From            Description of Transaction     Uniform        Deposit             Disbursement          Account Balance
   Date         Ref. #                                                                         Tran. Code        $                       $

 06/29/18                 Rabobank, N.A.                       Bank and Technology Services     2600-000                                     181.39                 130,279.62
                                                               Fee

 07/19/18        {19}     Elite Aircraft Title & Escrow, LLC   EOD 12/19/17 sale price          1229-000           150,000.00                                       280,279.62

 07/31/18                 Rabobank, N.A.                       Bank and Technology Services     2600-000                                     286.18                 279,993.44
                                                               Fee

 08/13/18        103      International Sureties, LTD.         bond premium                     2300-000                                      20.43                 279,973.01

 08/31/18                 Rabobank, N.A.                       Bank and Technology Services     2600-000                                     416.13                 279,556.88
                                                               Fee

 09/28/18                 Rabobank, N.A.                       Bank and Technology Services     2600-000                                     214.45                 279,342.43
                                                               Fees

 10/18/18        104      International Sureties, LTD.         bond premium                     2300-000                                        1.22                279,341.21

 10/31/18                 Rabobank, N.A.                       Bank and Technology Services     2600-000                                     252.55                 279,088.66
                                                               Fees

 02/01/19        105      International Sureties, LTD.         bond premium                     2300-000                                     162.89                 278,925.77

                                               COLUMN TOTALS                                                       282,180.34                3,254.57             $278,925.77
                                                     Less: Bank Transfers/CDs                                            0.00                    0.00
                                               Subtotal                                                            282,180.34                3,254.57
        true
                                                     Less: Payments to Debtors                                                                   0.00

                                               NET Receipts / Disbursements                                    $282,180.34                $3,254.57


                                                                                                                                                          false




{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                                     ! - transaction has not been cleared
             Case 2:17-bk-13503-SK                  Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04                            Desc
                                                     Main Document    Page 7 of 14
                                                     Form 2                                                                  Exhibit B
                                                                                                                             Page: 3
                                     Cash Receipts And Disbursements Record
Case No.:         2:17-bk-13503 SK                           Trustee Name:                   Howard M. Ehrenberg (001420)
Case Name:        TUNCANG GROUP INC.                         Bank Name:                      Rabobank, N.A.
Taxpayer ID #:    **-***3727                                 Account #:                      ******9966 Checking Account
For Period Ending: 04/16/2019                                Blanket Bond (per case limit): $5,000,000.00
                                                             Separate Bond (if applicable): N/A




                                                                                                NET                    ACCOUNT
                               TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS               BALANCES
                               ******9966 Checking Account                     $282,180.34          $3,254.57             $278,925.77

                                                                               $282,180.34               $3,254.57          $278,925.77




UST Form 101-7-TFR (5/1/2011)
Case 2:17-bk-13503-SK   Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04   Desc
                         Main Document    Page 8 of 14
Case 2:17-bk-13503-SK   Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04   Desc
                         Main Document    Page 9 of 14
Case 2:17-bk-13503-SK   Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04   Desc
                         Main Document    Page 10 of 14
Case 2:17-bk-13503-SK   Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04   Desc
                         Main Document    Page 11 of 14
  Case 2:17-bk-13503-SK             Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04                             Desc
                                     Main Document    Page 12 of 14


                                   TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                                Exhibit D


    Case No.: 2:17-bk-13503 SK
    Case Name: TUNCANG GROUP INC.
    Trustee Name: Howard M. Ehrenberg

                                                       Balance on hand:       $                             278,925.77

           Claims of secured creditors will be paid as follows:

  Claim     Claimant                                           Claim        Allowed            Interim          Proposed
  No.                                                       Asserted        Amount           Payments            Payment
                                                                            of Claim           to Date


                                                          None


                                                    Total to be paid to secured creditors:       $                   0.00
                                                    Remaining balance:                           $             278,925.77

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                            Total            Interim          Proposed
                                                                          Requested          Payments            Payment
                                                                                               to Date

  Trustee, Fees - Howard M. Ehrenberg                                       17,834.52                0.00       17,834.52
  Attorney for Trustee Fees - SulmeyerKupetz                                90,706.00                0.00       90,706.00
  Charges, U.S. Bankruptcy Court                                               350.00                0.00          350.00
  Trustee, Expenses - Howard M. Ehrenberg                                      186.26                0.00          186.26
  Other State or Local Taxes (post-petition) - FRANCHISE TAX                   829.00                0.00          829.00
  BOARD
  Other Chapter 7 Administrative Expenses - FRANCHISE TAX                    1,628.28                0.00        1,628.28
  BOARD
  Attorney for Trustee, Expenses - SulmeyerKupetz                            1,219.96                0.00        1,219.96
  Accountant for Trustee Fees (Other Firm) - Menchaca & Company              8,457.00                0.00        8,457.00
  LLP
  Accountant for Trustee Expenses (Other Firm) - Menchaca &                       18.45              0.00           18.45
  Company LLP
                       Total to be paid for chapter 7 administrative expenses:                   $             121,229.47
                       Remaining balance:                                                        $             157,696.30

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                     Total              Interim           Proposed
                                                                       Requested          Payments          Payment

                                                          None



UST Form 101-7-TFR(5/1/2011)
  Case 2:17-bk-13503-SK              Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04                         Desc
                                      Main Document    Page 13 of 14


                       Total to be paid for prior chapter administrative expenses:               $               0.00
                       Remaining balance:                                                        $         157,696.30

              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $25,043.11 must be paid in advance of any dividend to general (unsecured)
      creditors.
              Allowed priority claims are:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  2           Employment Development                             547.96                   0.00                 547.96
              Department
  8           California Department of Tax and               14,215.38                    0.00              14,215.38
              Fee Admininistration
  10          Department of the Treasury                     10,279.77                    0.00              10,279.77

                                                      Total to be paid for priority claims:      $          25,043.11
                                                      Remaining balance:                         $         132,653.19

              The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
              Timely claims of general (unsecured) creditors totaling $1,939,757.54 have been allowed and
      will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 6.8 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

  3           Southern California Edison                         246.10                   0.00                  16.83
  4           David Parsons                                 889,959.47                    0.00              60,861.20
  5           Keith W Furlong                               889,959.47                    0.00              60,861.20
  6           Olen Commercial Realty Corp.                  159,592.50                    0.00              10,913.96
  7           City of Long Beach                                   0.00                   0.00                      0.00
                          Total to be paid for timely general unsecured claims:                  $        132,653.19
                          Remaining balance:                                                     $              0.00

             Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will be
      paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
      have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount         Interim Payments               Proposed
  No.                                                       of Claim                  to Date               Payment

                                                          None




UST Form 101-7-TFR(5/1/2011)
  Case 2:17-bk-13503-SK              Doc 114 Filed 04/18/19 Entered 04/18/19 15:34:04                     Desc
                                      Main Document    Page 14 of 14


                          Total to be paid for tardily filed general unsecured claims:          $                0.00
                          Remaining balance:                                                    $                0.00

            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
      subordinated by the Court totaling $3,776.70 have been allowed and will be paid pro rata only after all
      allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
      subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
      subordinated by the Court are as follows:
  Claim       Claimant                              Allowed Amount         Interim Payments             Proposed
  No.                                                      of Claim                  to Date             Payment

  8           California Department of Tax and               3,682.71                    0.00                    0.00
              Fee Admininistration
  10          Department of the Treasury                        93.99                    0.00                    0.00

                                                  Total to be paid for subordinated claims: $                    0.00
                                                  Remaining balance:                        $                    0.00




UST Form 101-7-TFR(5/1/2011)
